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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  REDI-DATA, INC.,                                   Case No.
                                                     2:20-CV-17484-JMV-JBC
                        Plaintiff,

            -against-                                 [PROPOSED] ORDER

  THE SPAMHAUS PROJECT a/k/a THE
  SPAMHAUS PROJECT LTD.,

                        Defendant.                   Document Electronically Filed



       THIS MATTER having been brought before the Court upon the motion of

 Defendant The Spamhaus Project S.L.U. for an Order dismissing Plaintiff’s

 Complaint pursuant to Federal Rule of Civil Procedure 12(b)(2) for lack of personal

 jurisdiction, and the Court having considered the parties’ submissions, and for good

 cause, the Court ORDERS as follows:

       IT IS on this ______ day of __________________, 2022, hereby

       ORDERED that Defendant’s Motion is granted, and Plaintiff’s Complaint is

 hereby dismissed, and the costs incurred by Defendant in making this motion are

 assessed to Plaintiff.


                                     ______________________________________
                                     The Honorable John Michael Vazquez, U.S.D.J.
